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EXHIBIT NO. Dk-a> evid.
R22W TDeF Aso-

CAUSE NO.2:
WITNESS —_
SHONE POWELL

CLERK:
FEB 26 2024
UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF MISSISSIPPI
Candice Lane REPORTER

LHS

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House of Representatives
Committee Listing

Accountability, Efficiency, Transparency
Kevin Ford, Chairman; Dary! Porter, Vice-Chairman
Members: Randy P. Boyd; Billy Adam Calvert; Ronnie C. Crudup; Becky Currie; Stacey
Hobgood-Wilkes;, Clay Mansell; Kent McCarty; Orlando Paden; Kimberly Remak

Agricuiture

Bill Pigott, Chairman; Vince Mangold, Vice-Chairman

Members: C. Scott Bounds; Elliot Burch; Larry Byrd; Lester Carpenter; Karl Gibbs; Jeffery

Harness; Josh Hawkins; Kenji Holloway; Gregory Holloway, Sr.; Keith Jackson; Justin Keen; Bill
Kinkade; Jonathan Ray Lancaster, Steve Massengill; Brad Mattox; Dana McLean; Jonathan
McMillan; Ken Morgan; Karl Oliver; Solomon C. Osborne; Jansen Owen; Tracey T. Rosebud;
Robert L. Sanders; Donnie Scoggin; Rickey Thompson; Joesph Tubb; Mark Tullos; Jerry R.
Turner; Lance Varner, Beth Luther Waldo; Price Wallace

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Noah Sanford, Chairman; Mark Tullos, Vice-Chairman
Members: Willie Bailey; Lawrence Blackmon; Tamarra Butler-Washington; Angela
Cockerham; Becky Currie; Dan Eubanks; Bob Evans; Jill Ford; Timaka James-Jones; Kent
McCarty; Gene Newman; Jansen Owen; John Read; Price Wallace; Shanda Yates

Appropriations A
John Read, Chairman; Angela Cockerham, Vice-Chairman

Members: Brent Anderson, William Tracy Arnold; Manly Barton; Richard Bennett; C. Scott
Bounds; Randy P. Boyd; Bryant W. Clark; Sam Creekmore IV; Becky Currie; Clay Deweese;
Casey Eure; John G. Faulkner; Jeff Hale; John W. Hines, Sr.; Joey Hood; Lataisha Jackson;
Vince Mangold; Steve Massengill; Missy McGee; Jay McKnight; Sam C. Mims, V; Karl Oliver;
Orlando Paden; Bill Pigott; Rob Roberson; Randy Rushing; Donnie Scoggin; Omeria Scott; Jerry
R. Turner; Percy W. Watson; Charles Young, Jr.

Appropriations B
C. Scott Bounds, Chairman
Members: Brent Anderson; Bryant W. Clark; Casey Eure; Jeff Hale; Lataisha Jackson;

Orlando Paden: Bill Pigott; Jonn Read EXHIBIT

Appropriations C DX-23

Clay Deweese, Chairman

Members: Richard Bennett; Sam Creekmore IV; Becky Currie; Missy McGee; John Read;
Omeria Scott; Jerry R. Turner; Charles Young, Jr.

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Appropnations D
Sam C. Mims, V, Chairman
Members: Manly Barton; Angela Cockerham; John G. Faulkner; Joey Hood; Jay McKnight;
John Read; Randy Rushing; Percy W. Watson

Appropriations E
Karl Oliver, Chairman
Members: William Tracy Arnold; Randy P. Boyd; John W. Hines, Sr.; Vince Mangold; Steve
Massengill; John Read; Rob Roberson; Donnie Scoggin

Banking and Financial Services
Shane Aguirre, Chairman; Andy Boyd, Vice-Chairman
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Burnett; Jim Estrada; Dan Eubanks; Justis Gibbs; Jeff Hale; Rodney Hall; Josh Hawkins; John
W. Hines, Sr.; Stacey Hobgood-Wilkes; Brad Mattox; Kent McCarty; Kimberly Remak; Jerry R.
Turner; Lance Varner; Percy W. Watson

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Lee Yancey, Chairman; Billy Adam Calvert, Vice-Chairman
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Deweese; Kevin Ford; Jeffrey S. Guice; Greg Haney; Josh Hawkins; Clay Mansell; Jonathan
McMillan; Jansen Owen; Noah Sanford; Henry Zuber III

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Timmy Ladner, Chairman; Josh Hawkins, Vice-Chairman
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Evans; Kenji Holloway; Justin Keen; Vince Mangold; Clay Mansell; Hester Jackson McCray;
Jonathan McMillan; Ken Morgan; Bill Pigott; Price Wallace; Shanda Yates

Constitution
Price Wallace, Chairman; Cheikh Taylor, Vice-Chairman
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Shanks; Shanda Yates

Corrections
Becky Currie, Chairman; Charles Young, Jr., Vice-Chairman
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Felsher; Zachary Grady; Kevin Horan; Celeste Hurst; Keith Jackson; Kabir Karriem; Carl
Mickens; Gene Newman; Randy Rushing; Robert L. Sanders; Fred Shanks

County Affairs
Larry Byrd, Chairman; Troy Smith, Vice-Chairman
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James-Jones; Justin Keen; Solomon C. Osborne; Kimberly Remak; Rob Roberson; Randy
Rushina: Robert | Sanders’ Nonnie Scoonin: Zakiva Summers’ Cheikh Tavior Mark Tullos: Beth

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Drug Policy
Stacey Hobgood-Wilkes, Chairman; Christopher M. Bell, Vice-Chairman
Members: Jeramey Anderson; Brent Anderson; Elliot Burch; Bryant W. Clark; Becky Currie;

Oscar Denton; Jeffrey S. Guice; Kabir Karriem; Hester Jackson McCray; Andrew Stepp; Zakiya
Summers; Beth Luther Waldo; Lee Yancey

Education
Rob Roberson, Chairman; Kent McCarty, Vice-Chairman
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Creekmore IV; Becky Currie; Kevin Felsher; Jimmy Fondren; Stephanie Foster; Justis Gibbs;
Zachary Grady; Jeffery Harness; Kenji Holloway; Gregory Holloway, Sr.; Celeste Hurst; Vince
Mangold; Brad Mattox; Dana McLean; Carl Mickens; Jansen Owen; Kimberly Remak; Robert L.
Sanders; Cheikh Taylor; Beth Luther Waldo; Percy W. Watson

Energy
Jeff Hale, Chairman; Tracey T. Rosebud, Vice-Chairman
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Burnett; Jim Estrada; Dan Eubanks; Kevin Ford; Karl Gibbs; Joey Hood; Timaka James-Jones;
Justin Keen; Bill Kinkade; Steve Lott; Hester Jackson McCray; Jonathan McMillan; Carl Mickens:
Bill Pigott; Brent Powell; Noah Sanford

Enrolled Bills
Stephen A. Horne, Chairman; Rickey Thompson, Vice-Chairman
Members: C. Scott Bounds; Sam C. Mims, V; Troy Smith

Ethics
Vince Mangold, Chairman; Percy W. Watson, Vice-Chairman
Members: Manly Barton; Angela Cockerham; Jill Ford; Kimberly Remak; Robert L. Sanders;
Charles Young, Jr.

Executive Contingent Fund
Carolyn Crawford, Chairman; Hester Jackson McCray, Vice-Chairman
Members: Casey Eure; Stephen A. Horne; John Thomas "Trey" Lamar, III

Forestry
Ken Morgan, Chairman; Jonathan McMillan, Vice-Chairman
Members: Billy Adam Calvert; W.I. Harris; Keith Jackson; Justin Keen; Bill Kinkade; Timmy
Ladner; Vince Mangold; Bill Pigott; Troy Smith

Gaming

Casey Eure, Chairman; Jay McKnight, Vice-Chairman
Members: Shane Aguirre; Brent Anderson; Willie Bailey; Cedric Burnett; Carolyn Crawford;

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Oscar Denton; Kevin Felsher; Kevin Ford; Karl Gibbs; Zachary Grady; Jeffrey S. Guice; Jeffrey
Hulum Ill; Robert L. Johnson Il; Bill Kinkade; Hester Jackson McCray; Daryl Porter; Henry Zuber
1

Housing
Carl Mickens, Chairman; Orlando Paden, Vice-Chairman
Members: Randy P. Boyd; Clay Deweese; John W. Hines, Sr.; Fabian Nelson; Omeria Scott

Insurance
Jerry R. Turner, Chairman; William Tracy Arnold, Vice-Chairman
Members: Otis Anthony; Earle S. Banks; Christopher M. Bell; Andy Boyd; Elliot Burch; Oscar
Denton; Clay Deweese; Dan Eubanks; Jimmy Fondren; Kevin Ford; Jeff Hale; Jeffery Harness;
Josh Hawkins; John W. Hines, Sr.; Stacey Hobgood-Wilkes; Jay McKnight; Jody Steverson; Lee
Yancey; Henry Zuber III

Interstate Cooperation
Cedric Burnett, Chairman; Robert L. Sanders, Vice-Chairman
Members: Stephen A. Horne; Steve Massengill; Bill Pigott; Tracey T. Rosebud; Omeria Scott

Investigate State Offices
Randy P. Boyd, Chairman; Dan Eubanks, Vice-Chairman
Members: Jeramey Anderson; C. Scott Bounds; Stacey Hobgood-Wilkes; Stephen A. Horne;
Lataisha Jackson; John Thomas "Trey" Lamar, Ill; Fred Shanks

Judiciary A
Joey Hood, Chairman; Shanda Yates, Vice-Chairman
Members: Shane Aguirre; Earle S. Banks; Lawrence Blackmon; Charles Blackwell; Bryant W.
Clark; Angela Cockerham; Jim Estrada; Kevin Felsher; Jimmy Fondren; Kevin Ford; Justis
Gibbs; Jeffery Harness; Robert L. Johnson Ill; Clay Mansell; Karl Oliver; Rob Roberson; Robert
L. Sanders; Noah Sanford; Andrew Stepp; Mark Tullos; Beth Luther Waldo; Percy W. Watson;
Lee Yancey

Judiciary B
Kevin Horan, Chairman; Jansen Owen, Vice-Chairman
Members: Jeramey Anderson; Shane Barnett; Bo Brown; Elliot Burch; Sam Creekmore IV;
Casey Eure; Bob Evans; Jill Ford; Zachary Grady; Rodney Hall; Celeste Hurst; Lataisha
Jackson; Keith Jackson; John Thomas "Trey” Lamar, Ill; Kent McCarty; Jay McKnight; Dana
McLean; Fabian Nelson, Gene Newman; Daryl Porter; Donnie Scoggin; Rickey Thompson;
Lance Varner

Local and Private Legislation
Shane Barnett, Chairman; John W. Hines, Sr., Vice-Chairman
Members: Richard Bennett; Sam Creekmore IV; Jeff Hale; Lataisha Jackson; Kimberly
Remak

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Management
Manly Barton, Chairman; Steve Massengill, Vice-Chairman
Members: Shane Barnett; Donnie Bell; Lester Carpenter; John W. Hines, Sr.; Brent Powell;
Rob Roberson; Tracey T. Rosebud; Jason White; Henry Zuber III

Marine Resources
Brent Anderson, Chairman; Jeffrey Hulum Ill, Vice-Chairman
Members: Jeramey Anderson; Larry Byrd; Carolyn Crawford; Kevin Felsher; Jimmy Fondren;
Zachary Grady; Greg Haney; Timmy Ladner; Jay McKnight

Medicaid
Missy McGee, Chairman; Clay Mansell, Vice-Chairman
Members: Donnie Bell; Bo Brown; Bryant W. Clark; Becky Currie; Bob Evans; John W. Hines,
Sr.; Joey Hood; Robert L. Johnson Ill; Sam C. Mims, V; Brent Powell; Rob Roberson; Donnie
Scoggin; Omeria Scott; Andrew Stepp; Jerry R. Turner; Lee Yancey; Charles Young, Jr.

Military Affairs
Lester Carpenter, Chairman; Rodney Hall, Vice-Chairman
Members: Manly Barton; Larry Byrd; John G. Faulkner; Stephanie Foster; Karl Gibbs; W.1.
Harris; Jeffrey Hulum Ill; Kabir Karriem; Fabian Nelson; Gene Newman; Bill Pigott; Randy
Rushing; Mark Tullos

Municipalities
Randy Rushing, Chairman; Ronnie C. Crudup, Vice-Chairman
Members: Lawrence Blackmon; Tamarra Butler-Washington; John G. Faulkner; Stephanie
Foster; Jeff Hale; Greg Haney; WI. Harris; Timaka James-Jones; Kabir Karriem; Daryl Porter;
Rob Roberson; Jody Steverson; Mark Tullos; Lance Varner; Shanda Yates

Ports, Harbors and Airports
Jeffrey S. Guice, Chairman; Willie Bailey, Vice-Chairman
Members: William Tracy Arnold; Lester Carpenter; Oscar Denton; Jimmy Fondren; Greg
Haney; Jeffrey Hulum [Il; Robert L. Johnson Ill; Steve Lott; Brad Mattox

Public Health and Human Services
Sam Creekmore IV, Chairman; Kevin Felsher, Vice-Chairman
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Becky Currie; Dan Eubanks; Kevin Ford; John W. Hines, Sr.; Joey Hood; Kevin Horan; Jonathan
Ray Lancaster; Steve Massengill; Missy McGee; Dana McLean; Sam C. Mims, V; Daryl Porter;
Brent Powell; John Read; Noah Sanford; Donnie Scoggin; Omeria Scott; Fred Shanks; Andrew
Stepp; Rickey Thompson; Beth Luther Waldo; Lee Yancey; Charles Young, Jr.

Public Property

Richard Bennett, Chairman; Gene Newman, Vice-Chairman
Members: Earle S. Banks; Ronnie C. Crudup; Oscar Denton; Kevin Felsher; Gregory

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Holloway, Sr.; Lataisha Jackson; Timaka James-Jones; Bill Kinkade: Ken Morgan; Karl Oliver:
John Read; Troy Smith; Price Wallace

Public Utilities
Brent Powell, Chairman; Jonathan Ray Lancaster, Vice-Chairman
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Gibbs; Rodney Hall; Kenji Holloway; Joey Hood; Celeste Hurst: Steve Massengill; Jay McKnight;
Carl Mickens; Solomon C. Osborne; Daryl Porter; Tracey T. Rosebud; Fred Shanks; Andrew
Stepp; Jody Steverson; Cheikh Taylor; Lee Yancey

Rules
Fred Shanks, Chairman; Bryant W. Clark, Vice-Chairman
Members: Manly Barton; Sam Creekmore !V; Clay Deweese; Gregory Holloway, Sr.; Missy
McGee; Jay McKnight; Jansen Owen; Jason White; Lee Yancey

State Affairs
Henry Zuber Ii, Chairman; Robert L. Johnson Ill, Vice-Chairman
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Ray Lancaster, Steve Massengill; Jansen Owen; Omeria Scott; Fred Shanks; Shanda Yates

State Library
Karl Gibbs, Chairman; Stephanie Foster, Vice-Chairman
Members: Greg Haney; Stephen A. Horne; Kabir Karriem

Technology
Jill Ford, Chairman; John G. Faulkner, Vice-Chairman
Members: Lawrence Blackmon; Larry Byrd; Jim Estrada; W.I. Harris; Celeste Hurst; Justin
Keen; Clay Mansell; Fabian Nelson, Zakiya Summers

Tourism
Greg Haney, Chairman; Oscar Denton, Vice-Chairman
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Estrada; Kevin Felsher; Jill Ford; Justis Gibbs; Zachary Grady; W.!. Harris; Jeffrey Hulum III;
Timaka James-Jones; Brad Mattox; Orlando Paden; Tracey T. Rosebud; Robert L. Sanders;
Zakiya Summers; Joesph Tubb; Beth Luther Waldo

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Steve Massengill, Chairman; Joesph Tubb, Vice-Chairman

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Bryant W. Clark; Ronnie C. Crudup; Clay Deweese; Casey Eure; John G. Faulkner; Rodney Hall;
Josh Hawkins; Stacey Hobgood-Wilkes; Kenji Holloway; Robert L. Johnson Ill; Justin Keen;
Timmy Ladner; John Thomas "Trey" Lamar, III; Jonathan Ray Lancaster; Steve Lott; Vince
Mangold; Missy McGee; Jonathan McMillan; Orlando Paden; Kimberly Remak; Rob Roberson;
Randy Rushing; Troy Smith; Jody Steverson; Lance Varner; Price Wallace

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Universities and Colleges
Donnie Scoggin, Chairman; Gregory Holloway, Sr., Vice-Chairman
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Billy Adam Calvert; Carolyn Crawford; Clay Deweese; Jim Estrada; Casey Eure; John G.
Faulkner, Stephanie Foster; W.|. Harris; Josh Hawkins; Celeste Hurst; Lataisha Jackson; Steve
Lott; Kent McCarty; Missy McGee; Dana McLean; Orlando Paden; Rob Roberson; Robert L.
Sanders; Cheikh Taylor; Lance Varner; Charles Young, Jr.

Ways and Means
John Thomas "Trey" Lamar, Ill, Chairman; Jody Steverson, Vice-Chairman
Members: Shane Aauirre: Otis Anthony: Willie Railev; Fare S Ranks: Shane Rarnett Donnie

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